                           UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF TENNESSEE
                                   AT KNOXVILLE

 UNITED STATES OF AMERICA                           )
                                                    )
                                                    )
                                                    )       No. 3:07-CR-126
 V.                                                 )       (PHILLIPS/SHIRLEY)
                                                    )
                                                    )
                                                    )
 BOLIVAR PEREZ CAMACHO                              )

                        ORDER OF DETENTION PENDING TRIAL

                 This matter came before the Court on defendant’s initial appearance and

 arraignment on an Indictment on November 5, 2007. Tracee Plowell, Assistant United States

 Attorney, was present representing the government and Norman McKellar was present

 representing the defendant. The defendant was present. The government moved for

 detention stating BICE has placed a detainer against the defendant. Mr. McKellar stated that

 he has explained to his client that there is a detainer lodged against him. The defendant

 signed a Waiver of Detention Hearing. Therefore, Mr. McKellar stated that the defendant

 wished to waive his right to a detention hearing at this time but reserve the right to have a

 detention hearing at a later date, if appropriate, the defendant shall be detained. 18 U.S.C.

 § 3142(f)(2).

                 Both the defendant’s attorney and the government’s attorney agreed this

 situation constitutes good cause under 18 U.S.C. § 3142(f)(2), and the Court agrees.

 Therefore this detention hearing is continued indefinitely. Until that time, the defendant will

 remain in detention. The defendant stated he understands that he will remain in detention.


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               The defendant has been informed that a prompt hearing would be scheduled

 if he becomes eligible and requests a detention hearing. Accordingly, The defendant is

 committed to the custody of the Attorney General or his designated representative for

 confinement in a correction facility separate, to the extent practicable, from persons awaiting

 or serving sentences or being held in custody pending appeal. The defendant shall be

 afforded a reasonable opportunity for private consultations with defense counsel. On order

 of a court of the United States or on request of an attorney for the government, the person in

 charge of the corrections facility shall deliver the defendant to the United States Marshal for

 the purpose of an appearance in connection with a court proceeding.

                      IT IS SO ORDERED.

                                     ENTER:



                                              s/ C. Clifford Shirley, Jr.
                                            United States Magistrate Judge




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